                                   STATEMENT OF FACTS

        Your affiant, Kenneth Kroll, is a Task Force Office with the Federal Bureau of
Investigation (“FBI”). Specifically, I am assigned to the New York Field Office, tasked with
investigating counterterrorism matters. As a Task Force Officer with the Federal Bureau of
Investigation, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about January 13, 2021, an individual (“Complainant-1”) provided information to
law enforcement about another individual who participated in the unlawful entry into the Capitol
on or about January 6, 2021. Complainant-1 stated, in sum and substance, that an individual known
to him/her as “Robert Chapman” of Carmel, New York, is known to use the Bumble social media
platform with the username “Robert”. According to Complainant-1, on January 13, 2021, he/she
was texting with “Robert” via Bumble. During their text communication, “Robert” stated “I did
storm the Capitol and made it all the way to Statuary Hall”. Complainant-1 provided a screen shot
of the above conversation to law enforcement. (See Figure 1).




                                               See Figure 1

       The screenshot from Complainant-1 included the Bumble Account holder’s profile picture,
(See Figure 2), which appeared to be a picture of the individual known to Complainant-1 as
“Robert Chapman.”
                                             See Figure 2

       In an effort to further this investigation and to ascertain whether “Robert Chapman” was
inside of the U.S. Capitol Building, your affiant reviewed body-camera from the Metropolitan
Police Department, recorded on January 6, 2021. In the body-camera footage, an individual who
appears to be “Robert Chapman” is located inside of the Capitol Buildings in Statuary Hall. This
footage corroborates “Robert Chapman’s” statement to Complainant-1 regarding being inside of
Statuary Hall while inside of the U.S. Capitol Building.

       During the video, “Robert Chapman” is seen filming the activity inside of the U.S. Capitol
using his cellular telephone. Screen captures from that video with a time and date stamp are
depicted below.
                     Figure 3                                      Figure 4


        While reviewing Figures 2, 3, and 4, your affiant observed that the individual in Figure 2
appeared to be wearing the same navy/black dark-colored bandana as the individual in Figure 3.
The bandana worn by the individual in Figure 4 appears to be different in color on the front and
right side than the left side of the bandana, which is shown in figure 3. As discussed below, we
subsequently obtained an additional photograph (Figure 7) that shows the two different colors of
the bandana.

        Your affiant searched numerous databases to further determine if the individual depicted
in Figure 3 and Figure 4 was “Robert Chapman.” According to the New York State Police
Department, an individual identified as “Robert Chapman” was arrested in 2017 in the state of
New York. Your affiant obtained a photograph of “Robert Chapman” taken at the time of his
arrest (See Figure 5). Your affiant observed that the individual depicted in Figure 5 has similar
facial hair as the individual depicted inside of the U.S. Capitol in Figures 3 and 4.
                                           Figure 5

        In addition to the arrest photograph identifying “Robert Chapman,” the FBI provided your
affiant with surveillance footage of the individual believed to be “Robert Chapman.” Based on
the information provided by Complainant-1 and the video provided by the Metropolitan Police
Department, law enforcement elected to conduct surveillance of the individual identified as
“Robert Chapman.” Your affiant confirmed that a “Robert Chapman” resided in the state of New
York. This information corroborated the information provided by Complainant-1. Figure 6 is a
still photograph obtained from the video surveillance conducted by the FBI.
                                             Figure 6

        Upon comparing the individual identified by law enforcement as “Robert Chapman” in
Figure 6 to the individual depicted inside of the U.S. Capitol Building in Figures 3 and 4, your
affiant believes that Robert Erick and Robert Chapman are one and the same, and as such, is likely
the individual depicted inside of the U.S. Capitol Building.

       In addition to Complainant-1’s direct communication with CHAPMAN wherein he
admitted to entering the U.S. Capitol Building, Complainant-1 informed the FBI that he/she
observed a Facebook post on a Facebook page with account profile name “funkyvunky.”
Complainant-1 provided a screenshot of the Facebook page. In the screenshot, an individual who
appears to be ERICK is depicted inside of Statuary Hall inside of the U.S. Capitol Building. The
screenshot includes a Facebook post, dated January 7th, made by an individual with the name “Lisa
Jeanne Vunk.” In the post. Vunk writes: “My Dear friend and Brostar Robert made it in the Capitol
building at the protest yesterday….Wooo Hooooooooo!!!!” (See Figure 7). In the comments of
the post, an individual named “Robert Erick” writes: “Lisa Jeanne Vunk these are your peers?
colleagues? they are a bunch of little bitch trolls. keyboard warriors who don’t do a fuckin thing.”
                                             Figure 7

        Your affiant observed that the individual depicted in Figure 7 matches the physical
characteristics of the individual in Figures 3 and 4. Notably, the individual appears to be attired
in the same jacket and wearing the same multi-colored bandana. Additionally, in Figure 7, your
affiant was able to observe a front-facing view of the individual, including the headband depicted
in Figures 3 and 4. From the angle in Figure 7, it appears that the bandana is white on one side
and navy/black on the other side, providing an explanation for the differing colors of the bandana
in Figures 3 and 4.

       Based upon ERICK’s statement to Complainant-1, as it relates to his location inside of
Statuary Hall and the screenshot of the individual depicted in Figures 3, 4, and 7, your Affiant
believes that ERICK is the individual depicted in Figure 7.

       During an open source check of CHAPMAN, your affiant learned that CHAPMAN utilized
a Facebook account with a profile name of “robert.erick.7” with registered email addresses
“nampahc10@yahoo.com” and “robert.erick.7@facebook.com.” The aforementioned Facebook
account was public. Your affiant observed the Facebook page belonging to “Robert Erick” and
observed photographs depicting a person who appears to be one in the same as ERICK. In one
screenshot captured by FBI (Figure 8), “Robert Erick” posts: “I’M FUCKIN INSIDE THE
CRAPITOL!!!”




                                             Figure 8

         The individual in Figure 8 is wearing the same bandana as the indivudal in Figures 3, 4,
and 7.

        In a second screenshot taken from “Robert Erick’s” Facebook page (Figure 9), the
individual in the photograph is seen taking a picture with a statue which your affiant has confimed
is located inside of Statuary Hall inside of the U.S. Capitol Building.
                                           Figure 9

        A third screenshot taken from “Robert Erick’s” Facebook page (Figure 10), shows a
picture of the Apothesis of Washington which is located inside of the Capitol Rotunda inside of
the U.S. Capitol Building.




                                          Figure 10
       On or about January 16, 2021, your affiant conducted an online search for Robert
CHAPMAN. During the search, your affiant located a 2017 YouTube video. In the video, a white
male matching the physical characteristics of CHAPMAN identified himself as “Robert.” The
individual stated that he/she was from New York City. The “Robert” in the video wore a similar
bandana around his head much like the individual depicted in Figures 3 and 4.

        Your Affiant located a New York State DMV photograph of Robert Chapman. I compared
the DMV photograph to Figures 1-10. In doing so, I believe that Robert CHAPMAN is the
individual who was inside of the U.S. Capitol on January 6, 2021, and that he is one and the same
as the individual who uses the name “Robert Erick.”

       At no time was Robert CHAPMAN, a/k/a Robert Erick authorized to enter the U.S. Capitol
Building on January 6, 2021.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
CHAPMAN violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions.

         For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.


        Your affiant submits there is also probable cause to believe that ERICK violated 40 U.S.C.
§§ 5104(e), which make it a crime to willfully and knowingly (D) utter loud, threatening, or
abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or in
any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a
session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress; and
(G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Kenneth Kroll, Task Force Officer
                                                      Federal Bureau of Investigation
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of April 2021.


                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
